USCA Case #23-1157               Document #2102088             Filed: 02/21/2025   Page 1 of 2



                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                           ____________
No. 23-1157                                                      September Term, 2024
                                                                              EPA-88FR36654
                                                            Filed On: February 21, 2025
State of Utah, by and through its Governor,
Spencer J. Cox, and its Attorney General,
Sean D. Reyes,

                  Petitioner

         v.

Environmental Protection Agency and Lee M.
Zeldin, Administrator, U.S. EPA,

                  Respondents

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City Utilities of Springfield, Missouri, et al.,
                  Intervenors
------------------------------

Consolidated with 23-1181, 23-1183,
23-1190, 23-1191, 23-1193, 23-1195,
23-1199, 23-1200, 23-1201, 23-1202,
23-1203, 23-1205, 23-1206, 23-1207,
23-1208, 23-1209, 23-1211, 23-1306,
23-1307, 23-1314, 23-1315, 23-1316,
23-1317


         BEFORE:           Childs, Pan, and Garcia, Circuit Judges

                                              ORDER

      Upon consideration of the motion to hold these cases in abeyance and the
oppositions thereto; and the motion to extend the time to file a supplemental brief, the
opposition thereto, and the reply, it is

         ORDERED that the motion to hold these cases in abeyance be denied. It is
USCA Case #23-1157          Document #2102088               Filed: 02/21/2025    Page 2 of 2



                  United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 23-1157                                                  September Term, 2024

         FURTHER ORDERED that the following briefing schedule will apply in these
cases:

         Supplemental Brief of Respondent EPA                       March 10, 2025

         Supplemental Brief of Environmental Groups                 March 17, 2025
         and Government Intervenors

         Supplemental Reply Brief of Petitioners Indiana,           March 27, 2025
         Nevada, Ohio, Utah, West Virginia, Kentucky,
         and the Kentucky Energy and Environment Cabinet

         Supplemental Reply Brief of Industry Petitioners           March 27, 2025


                                        Per Curiam


                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                  BY:     /s/
                                                          Selena R. Gancasz
                                                          Deputy Clerk




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